Case 3:24-cv-00122-DCJ-CES-RRS Document 168-1 Filed 04/08/24 Page 1 of 1 PageID #:
                                    2868



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA


    PHILLIP CALLAIS, LLOYD PRICE, BRUCE
    ODELL, ELIZABETH ERSOFF, ALBERT
    CAISSIE, DANIEL WEIR, JOYCE LACOUR,
    CANDY CARROLL PEAVY, TANYA          Case No. 3:24-cv-00122-DCJ-CES-RRS
    WHITNEY, MIKE JOHNSON, GROVER
    JOSEPH REES, and ROLFE MCCOLLISTER, Judge David C. Joseph
                                        Judge Carl E. Stewart
                   Plaintiffs,          Judge Robert R. Summerhays

           v.
                                                     Magistrate Judge Kayla D. McClusky
    NANCY LANDRY, in her official capacity as
    Secretary of State of Louisiana,

                      Defendant.

                                             ORDER

          IT IS ORDERED that Sophia Lakin be and is hereby admitted to the bar of this Court pro

   hac vice on behalf of Proposed Intervenors Press Robinson, Alice Washington, Clee Ernest Lowe,

   Ambrose Sims, Edgar Cage, Dorothy Nairne, Davante Lewis, Edwin René Soulé, Martha Davis,

   Louisiana State Conference of the NAACP, and Power Coalition for Equity and Justice in the

   above-described action.

          SO ORDERED on this, the ___ day of April, 2024.




                                                             ___________________________

                                                               U.S. Magistrate Judge
